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    Fill in this information to identify the case:


    United States Bankruptcy Court for the Southern District of Texas

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            04/20

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                ORG GC Midco, LLC


   2.   All other names debtor used                  N/A
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names




   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     6330       Gulfton Street
                                                     Number     Street                                                     Number                    Street



                                                                                                                           P.O. Box


                                                     Houston                     Texas                77801
                                                     City                        State                ZIP Code             City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Harris
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code



   5.   Debtor’s website (URL)                       Not Applicable


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:

Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              Page 1
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Debtor          ORG GC Midco, LLC                                                                          Case number (if known)   21-_____ ( )
                Name




                                             A. Check one:
7.   Describe debtor’s business
                                             ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                             ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             ☒   None of the above Holding Company for ARM/BPO Business


                                             B. Check all that apply:
                                             ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5614 – Business Support Services

8.   Under which chapter of the
                                             Check one:
     Bankruptcy Code is the
     debtor filing?                          ☐ Chapter 7
                                             ☐ Chapter 9
                                             ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
     debtor” must check the first sub-box.                      and its aggregate noncontingent liquidated debts (excluding debts owed to
     A debtor as defined in § 1182(1)                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
     who elects to proceed under                                attach the most recent balance sheet, statement of operations, cash-flow
     subchapter V of chapter 11 (whether                        statement, and federal income tax return or if any of these documents do
     or not the debtor is a “small                              not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     business debtor”) must check the                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
     second sub-box.
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                sheet, statement of operations, cash-flow statement, and federal income tax
                                                                return or if any of these documents do not exist, follow the procedure in 11
                                                                U.S.C. § 1116(1)(B).
                                                              ☒ A plan is being filed with this petition.
                                                              ☒ Acceptances of the plan were solicited prepetition from one or more classes
                                                                of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                1934 Rule 12b-2

                                             ☐ Chapter 12
9.   Were prior bankruptcy cases             ☒ No
     filed by or against the debtor
                                             ☐ Yes        District                       When                              Case number
     within the last 8 years?
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                          District                       When                              Case number
                                                                                                       MM / DD/ YYYY




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
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Debtor          ORG GC Midco, LLC                                                                        Case number (if known)    21-_____ ( )
                Name


10. Are any bankruptcy cases           ☒ No
    pending or being filed by a
                                       ☐ Yes              Debtor                                                           Relationship
    business partner or an
    affiliate of the debtor?                              District                                                         When
     List all cases. If more than 1,                                                                                                         MM / DD/ YYYY
                                                          Case number, if known
     attach a separate list.



 11. Why is the case filed in this         Check all that apply:
     district?
                                           ☒     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                           ☐     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                       ☒ No
    possession of any real
    property or personal property      ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                        Why does the property need immediate attention? (Check all that apply.)
                                                      ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                           health or safety.

                                                          What is the hazard?
                                                      ☐    It needs to be physically secured or protected from the weather.
                                                      ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                           without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).


                                                      ☐ Other


                                                       Where is the property?
                                                                                        Number                    Street


                                                                                        City                               State               ZIP Code
                                                      Is the property insured?
                                                                                       ☐ No
                                                                                        ☐ Yes. Insurance agency
                                                                                                  Contact Name
                                                                                                  Phone




                Statistical and administrative information



   13. Debtor’s estimation of          Check one:
       available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                       ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of             
                                       ☐       1-49                                 ☐     1,000-5,000                              ☐      25,001-50,000
       creditors                       ☒       50-99                                ☐     5,001-10,000                             ☐      50,001-100,000
                                       ☐       100-199                              ☐     10,001-25,000                            ☐      More than 100,000
                                       ☐       200-999


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Debtor          ORG GC Midco, LLC                                                                    Case number (if known)   21-_____ ( )
                Name



   15. Estimated assets               ☐   $0-$50,000                            ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
                                      ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                      ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                      ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million               ☐   More than $50 billion

   16. Estimated liabilities          ☐   $0-$50,000                            ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
                                      ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                      ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                      ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million               ☐   More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
   17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
       authorized representative of              this petition.
       debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is
                                                 true and correct.
                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on November 8, 2021
                                                                 MM / DD / YYYY




                                                     /s/ Michael Jones                                           Michael Jones
                                                     Signature of authorized representative of                   Printed name
                                                      debtor

                                                     Chief Financial Officer & Chief Administrative Officer
                                                     Title



   18. Signature of attorney                     /s/ Alfredo R. Pérez                                          Date      November 8, 2021
                                                Signature of attorney for debtor                                        MM / DD / YYYY
                                                Alfredo R. Pérez                                              Sunny Singh
                                                  Printed Name
                                         
                                                Weil, Gotshal & Manges LLP                                    Weil, Gotshal & Manges LLP
                                                  Firm Name
                                         
                                                700 Louisiana, Suite 1700                                     767 Fifth Avenue
                                                  Address
                                         
                                                Houston, Texas 77002                                          New York, New York 10153
                                                  City/State/Zip
                                         
                                                (713) 546-5000                                                (212) 310-8000
                                                  Contact Phone
                                         
                                                Alfredo.Perez@weil.com                                        Sunny.Singh@weil.com
                                                  Email Address
                                         
                                                15776275                            Texas
                                                Bar Number                          State

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 4
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                          WRITTEN CONSENT OF
               THE BOARD OF MANAGERS OF ORG GC MIDCO, LLC

                                      November 7, 2021

       Pursuant to Section 18.404(d) of the Delaware Limited Liability Company Act and
Sections 17-302(e) and 17-405(d) of the Delaware Revised Uniform Limited Partnership Act, as
applicable, the undersigned managers of ORG GC Midco, LLC, a Delaware limited liability
company (such persons, each, a “Manager” and collectively, the “Board,” and such entity,
the “Company”), hereby unanimously consent to the adoption of the following resolutions:

        WHEREAS, the Company (together with its direct and indirect subsidiaries,
the “Company Group”) is a party to that certain Financing Agreement, dated as of July 31, 2017
(as amended, supplemented or otherwise modified from time to time, the “Financing Agreement”
and the facility thereunder, the “Term Facility”), among the Company, ORG GP Buyer, LLC, and
ORG LP Buyer, LLC, as borrowers, ORG GC Holdings, LLC, GC Services Limited Partnership,
and GC Services International, LLC, as guarantors, BSP Agency, LLC, as administrative agent
and collateral agent, and the lenders from time to time party thereto (the “Existing Term
Lenders”);

        WHEREAS, on October 16, 2021, the Company Group entered into the Restructuring
Support Agreement (the “Restructuring Support Agreement”) with the Existing Term Lenders
regarding the terms of a restructuring of the Company Group’s capital structure and financial
obligations (the “Proposed Restructuring”)

       WHEREAS, the Restructuring Support Agreement provides that the Proposed
Restructuring will be implemented pursuant to the terms of a prepackaged plan of reorganization
(the “Plan”), a corresponding disclosure statement in respect of the Plan (the “Disclosure
Statement”), a solicitation of votes thereon, and the commencement by the Company of a
voluntary case (the “Chapter 11 Case”) under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”);

       WHEREAS, on October 16, 2021, in accordance with milestones set forth in the
Restructuring Support Agreement, the Company commenced the prepetition solicitation of votes
on the Plan from the Existing Term Lenders;

       WHEREAS, the deadline for the Existing Term Lenders to vote to accept or reject the
Plan was November 1, 2021 at 4:00 p.m. (Prevailing Central Time) (the “Voting Deadline”);

       WHEREAS, as of the Voting Deadline, 100% of the Existing Term Lenders have voted
to accept the Plan;

       WHEREAS, the Restructuring Support Agreement provides that the Company must
commence its Chapter 11 Case no later than 11:59 p.m. (Prevailing Central Time) on November
8, 2021;
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         WHEREAS, the Board has reviewed and had the opportunity to ask questions about the
materials presented by management with the assistance of (i) advice from its financial advisors,
(ii) outside counsel and the general counsel to each Company, and (iii) management of each
Company, regarding the liabilities and liquidity of such Company, all of the strategic alternatives
available to it, including the Proposed Restructuring, and the impact of the foregoing on the
Company’s business;

        WHEREAS, the Board has been advised of the pleadings and other documents proposed
to be filed in connection with commencement of the Chapter 11 Case, including the “first day”
motions requesting certain “first day” relief from the Bankruptcy Court;

        WHEREAS, with the Board believes that taking the actions set forth below is in the best
interests of such Company and, therefore, desires to approve the following resolutions:

       Commencement of Chapter 11 Case

         NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
consultation with the Company’s management team, and based on the advice of the Company’s
legal and financial advisors (the “Advisors”), that it is desirable and in the best interests of the
Company, its creditors, and other parties in interest that a petition be filed by the Company seeking
relief under chapter 11 of the Bankruptcy Code to implement the Proposed Restructuring; and be
it further

         RESOLVED, that any officer of the Company, including Robert Wagstaff in his capacity
as Chief Restructuring Officer (each, an “Authorized Officer”), in each case, acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, with full power of delegation,
to negotiate, execute, deliver, and file in the name and on behalf of the Company, and under its
seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders, and other documents in the Bankruptcy Court, and, in
connection therewith, to take and perform any and all further acts and deeds which such Authorized
Officer deems necessary, proper, or desirable in connection with the Chapter 11 Case, including,
without limitation, (i) the payment of fees, expenses, and taxes such Authorized Officer deems
necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering, performing and
filing any and all additional documents, schedules, statements, lists, papers, agreements,
certificates, and/or instruments (or any amendments or modifications thereto) in connection with,
or in furtherance of, the Chapter 11 Case with a view to the successful prosecution of the Chapter
11 Case (such acts to be conclusive evidence that such Authorized Officer deemed the same to
meet such standard); and be it further

Debtor-in-Possession Financing

       RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests of the
Company to enter into and obtain loans, and to consummate the transactions under that certain
super priority senior secured debtor-in-possession term loan credit facility in an aggregate
principal amount of up to $6 million to be evidenced by that certain Senior Secured Super Priority



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Debtor-In-Possession Credit Agreement, by and among, the Company and the guarantors
(the “Guarantors”), the lenders from time to time party thereto (the “DIP Lenders”), Goldman
Sachs Specialty Lending Group, L.P., as administrative agent for the DIP Lenders (in such capacity
and together with its successors, the “Administrative Agent”) (the “DIP Credit Agreement”),
in each case subject to approval by the Bankruptcy Court, which is necessary and appropriate to
fund the costs of implementing the Proposed Restructuring (the “Debtor-in-Possession
Financing”); and be it further

        RESOLVED, that the execution and delivery of the DIP Credit Agreement and any DIP
Financing Documents (as defined below) to which the Company is party, the consummation by
the Company of the transactions contemplated thereunder, including the borrowing of funds under
the DIP Credit Agreement, the grant of a security interest in and liens upon substantially all of the
Company’s assets in favor of the secured parties (including the authorization of financing
statements in connection with liens) and the execution, delivery and performance of all other
agreements, instruments, documents, notices or certificates constituting exhibits to the DIP Credit
Agreement or that may be required, necessary, appropriate, desirable or advisable to be executed
or delivered pursuant to the DIP Credit Agreement or otherwise related thereto (each a “DIP
Financing Document” and collectively, the “DIP Financing Documents”), the making of the
representations and warranties and compliance with the covenants thereunder and the assumption
of any obligations under and in respect of any of the foregoing, are hereby authorized and approved
in all respects, and that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby severally authorized, empowered and directed, in the name and on
behalf of the Company, to execute and deliver the DIP Credit Agreement and any other DIP
Financing Document to which the Company is a party, with such changes therein and additions
thereto as any such Authorized Officer, in his or her sole discretion, may deem necessary,
convenient, appropriate, advisable or desirable, the execution and delivery of the DIP Credit
Agreement and such DIP Financing Document with any changes thereto by the relevant
Authorized Officer, to be conclusive evidence that such Authorized Officer deemed such changes
to meet such standard; and be it further

       RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit Agreement,
including the use of proceeds to provide liquidity for Company throughout the Chapter 11 Case,
substantially in the form presented to the Company and (ii) any and all of the other agreements,
including, without limitation, any guarantee and security agreement, letters, notices, certificates,
documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
connection with the Debtor-in-Possession Financing and the performance of obligations
thereunder, including the borrowings and guarantees contemplated thereunder, are hereby, in all
respects confirmed, ratified and approved; and be it further

         RESOLVED, that each Authorized Officer of the Company, in each case, acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of
the Company, to cause the Company to negotiate and approve the terms, provisions of and
performance of, and to prepare, execute and deliver the DIP Credit Agreement and any other DIP
Financing Document, in the name and on behalf of the Company under its corporate seal or
otherwise, and such other documents, agreements, instruments and certificates as may be required
by the Administrative Agent or required by the DIP Credit Agreement and any other DIP Financing
Documents; and be it further


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       RESOLVED, that the Company be, and hereby is, authorized to incur the obligations and
to undertake any and all related transactions contemplated under the DIP Credit Agreement and
any other DIP Financing Document including the granting of security thereunder; and be it further

        RESOLVED, that each Authorized Officer of the Company, in each case, acting singly or
jointly, be, and each hereby is, authorized to grant security interests in, and liens on, any and all
property of the Company as collateral pursuant to the DIP Credit Agreement and any other DIP
Financing Document to secure all of the obligations and liabilities of the Company thereunder to
the DIP Lenders and the Administrative Agent, and to authorize, execute, verify, file and/or deliver
to the Administrative Agent, on behalf of the Company, all agreements, documents and
instruments required by the DIP Lenders in connection with the foregoing; and be it further

        RESOLVED, that each Authorized Officer of the Company, in each case, acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, in the name and on behalf
of the Company, to take all such further actions including, without limitation, to pay all fees and
expenses, in accordance with the terms of the DIP Credit Agreement and any other DIP Financing
Document, which shall, in such Authorized Officer’s sole judgment, be necessary, proper or
advisable to perform the Company’s obligations under or in connection with the DIP Credit
Agreement or any other DIP Financing Document and the transactions contemplated therein and
to carry out fully the intent of the foregoing resolutions; and be it further

        RESOLVED, that each Authorized Officer of the Company, in each case, acting singly or
jointly, be, and each hereby is authorized, empowered, and directed, in the name and on behalf
of the Company, to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions and extensions of the DIP Credit Agreement and/or
any of the DIP Financing Documents which shall, in such Authorized Officer’s sole judgment, be
necessary, proper or advisable; and be it further

Retention of Advisors

        RESOLVED, that in connection with the Chapter 11 Case, any Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, in the name and on behalf of the Company, to employ and retain all
assistance by legal counsel, accountants, financial advisors, investment bankers and other
professionals, on behalf of the Company, which such Authorized Person deems necessary,
appropriate or advisable in connection with, or in furtherance of, the Chapter 11 Case (such acts
to be conclusive evidence that such Authorized Person deemed the same to meet such standard);

        RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, NY 10153, and 700 Louisiana St., Suite 1700, Houston, TX 77002, is hereby
retained as counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

       RESOLVED, that the firm of Riveron Management Services, LLC f/k/a/ Conway
MacKenzie Management Services, LLC (“RMS”), located at 401 South Old Woodward Avenue,
Ste 340, Birmingham, Michigan 48009, is hereby retained to provide interim management services
for the Company in the Chapter 11 Case, with Robert Wagstaff of RMS acting as Chief
Restructuring Officer, subject to Bankruptcy Court approval;


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        RESOLVED, that the firm of Bankruptcy Management Solutions, Inc. d/b/a Stretto,
located at 7 Times Square, Suite 1601, New York, New York 10036, is hereby retained as claims,
noticing, and solicitation agent and administrative advisor for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval;

General Authority and Ratification of Past Actions

        RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts or deeds, including
(i) the negotiation of such additional agreements, amendments, modifications, supplements,
reports, documents, instruments, applications, notes or certificates, including those not now known
but which may be required, (ii) the execution, delivery and filing (if applicable) of any of the
foregoing, and (iii) the payment of all fees, consent payments, taxes and other expenses as any
such Authorized Person, in his or her sole discretion, may approve or deem necessary, appropriate
or desirable in order to carry out the intent and accomplish the purposes of the foregoing
resolutions and the transactions contemplated thereby, all of such actions, executions, deliveries,
filings and payments to be conclusive evidence of such approval or that such Authorized Person
deemed the same to meet such standard; and

        RESOLVED, that any and all past actions heretofore taken by any Authorized Person, any
director, manager, or any member of the Company in the name and on behalf of the Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, adopted and approved in all respects.

                                    [Signature Page Follows]




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        This Written Consent may be executed in one or more counterparts, all of which together
shall be one and the same instrument. This Written Consent shall be filed with and become a part
of the records of Company.

       IN WITNESS WHEREOF, the undersigned, being all of the Managers of the Board, have
executed this written consent as of the date first written above.


                                                   MANAGERS:



                                                   By:     /s/ James Decker
                                                           Name: James Decker
                                                           Title: Manager



                                                   By:     /s/ John Haas
                                                           Name: John Haas
                                                           Title: Manager



                                                   By:     /s/ Steven Panagos
                                                           Name: Steven Panagos
                                                           Title: Manager
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 Fill in this information to identify the case:

 Debtor name: ORG GC Midco, LLC
 United States Bankruptcy Court for the Southern District of Texas
                                               (State)
 Case number (If known):                                                                                                                           ☐ Check if this is an
                                                                                                                                                   amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

 Name of creditor and complete mailing          Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim
 address, including zip code                    address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only
                                                                                                 example,       contingent,     unsecured claim amount. If claim is partially
                                                                                               trade debts,    unliquidated,    secured, fill in total claim amount and
                                                                                               bank loans,      or disputed     deduction for value of collateral or setoff to
                                                                                              professional                      calculate unsecured claim.
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                                 Total claim, if       Deduction       Unsecured
                                                                                                                                   partially          for value of       claim
                                                                                                                                   secured            collateral or
                                                                                                                                                         setoff
 1    Intact Insurance Surety Group
      f/k/a OneBeacon Surety Group              Attn.: Corey E. Johnson
      Attn.: Corey E. Johnson                   Phone: (781) 332‐7276                             Surety           C/U/D                                              Undetermined
      3625 Cumberland Blvd., Suite C‐100        Email: cjohnson@intactinsurance.com
      Atlanta, Georgia 30339
 2    Chubb Group of Insurance Companies
                                                Attn.: Claims Department
      Attn.: Claims Department
                                                Phone: (800) 362‐4822                           Insurance          C/U/D                                              Undetermined
      82 Hopmeadow Street
                                                Email: specialtyclaims@chubb.com
      Simsbury, Connecticut 06070‐7683
 3    Chapman and Cutler LLP                    Attn.: Larry G. Halperin
      Attn.: Larry G. Halperin                  Phone: (212) 655‐2517 (direct)                 Professional
                                                                                                                   C/U/D                                              Undetermined
      1270 Avenue of the Americas, 30th Floor   Phone: (212) 655‐6000                            Services
      New York, New York 10020‐1708             Email: halperin@chapman.com
 4    Ham Langston & Brezina LLP
                                                Attn.: David Borda
      Attn.: David Borda                                                                       Professional
                                                Phone: (281) 481‐1040                                              C/U/D                                              Undetermined
      11550 Fuqua, Suite 475                                                                     Services
                                                Email: bordad@hlb‐cpa.com
      Houston, Texas 77034
 5    Vinson & Elkins L.L.P.
                                                Attn.: Peter C. Marshall
      Attn.: Peter C. Marshall                                                                 Professional
                                                Phone: (214) 220‐7849                                              C/U/D                                              Undetermined
      2001 Ross Avenue, Suite 3900                                                               Services
                                                Email: pmarshall@velaw.com
      Dallas, Texas 75201
 6    King & Spalding LLP                       Attn.: W. Austin Jowers (Austin)
      Attn.: W. Austin Jowers (Austin)          Phone: (404) 572‐2776 (direct)                 Professional
                                                                                                                   C/U/D                                              Undetermined
      1180 Peachtree Street NE                  Phone: (404) 572‐4600                            Services
      Atlanta, Georgia 30309                    Email: ajowers@kslaw.com
 7    Mayer Brown LLP                           Attn.: Steven M. Kaplan
      Attn.: Steven M. Kaplan                   Phone: (202) 263‐3005 (direct)                 Professional
                                                                                                                   C/U/D                                              Undetermined
      1999 K Street, NW                         Phone: (202) 263‐3000                            Services
      Washington, DC 20006‐1101                 Email: skaplan@mayerbrown.com
 8    Stroock & Stroock & Lavan LLP
                                                Attn.: Jayme T. Goldstein
      Attn.: Jayme T. Goldstein                                                                Professional
                                                Phone: (212) 806‐5400                                              C/U/D                                              Undetermined
      180 Maiden Lane                                                                            Services
                                                Email: jgoldstein@stroock.com
      New York, New York 10038‐4982




 Official Form 204                                 List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                        Page 1
Debtor
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                                                                 Case number (if known)
           ORG GC Midco, LLC                                                                                                    21-_____ ( )
           Name

Name of creditor and complete mailing      Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim
address, including zip code                address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only
                                                                                            example,       contingent,     unsecured claim amount. If claim is partially
                                                                                          trade debts,    unliquidated,    secured, fill in total claim amount and
                                                                                          bank loans,      or disputed     deduction for value of collateral or setoff to
                                                                                         professional                      calculate unsecured claim.
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                            Total claim, if    Deduction        Unsecured
                                                                                                                              partially       for value of        claim
                                                                                                                              secured         collateral or
                                                                                                                                                 setoff
9    Wells Fargo Bank
     Attn.: Chester Fontenot               Attn.: Chester Fontenot
                                                                                          Professional
     WF 8113                               Phone: (917) 260‐1688                                              C/U/D                                           Undetermined
                                                                                            Services
     P.O. Box 1450                         Email: chester.fontenot@wellsfargo.com
     Minneapolis, Minnesota 55485‐8113
10   Winstead PC
     Attn.: Melissa R. Stewart             Attn.: Melissa R. Stewart
                                                                                          Professional
     500 Winstead Building                 Phone: (214) 745‐5200                                              C/U/D                                           Undetermined
                                                                                            Services
     2728 N Harwood Street                 Email: mstewart@winstead.com
     Dallas, Texas 75201
11   Eckstaedt and Associates, LLC         Attn: James Eckstaedt
     Attn: James Eckstaedt                 Phone: (714) 319‐9269                          Professional
                                                                                                              C/U/D                                           Undetermined
     8502 E. Chapman Avenue, Suite 192     Email:                                           Services
     Orange, California 92869              jim.eckstaedt@esckstaedtandassociates.com
12   Tennessee Department of Revenue
                                           Attn.: Legal Department
     Attn.: Legal Department                                                              Government
                                           Phone: (615) 253‐0600                                              C/U/D                                           Undetermined
     500 Deaderick Street                                                                  Contracts
                                           Email: revenue.support@tn.gov
     Nashville, Tennessee 37242‐0400
13   Missouri Department of Revenue        Attn.: Bankruptcy Unit
     Attn.: Bankruptcy Unit                Attn: Steven A. Ginther
     Attn: Steven A. Ginther               Phone: (573) 751‐4541                          Government
                                                                                                              C/U/D                                           Undetermined
     301 W High Street, Room 670           Phone: (573) 751‐5531                           Contracts
     PO Box 475                            Email: corporate@dor.mo.gov
     Jefferson City, Missouri 65105‐0475   Email: sdnyecf@dor.mo.gov
14   Arizona Department of Revenue         Attn.: Legal Department
     Attn.: Legal Department               Phone: (602) 716‐6234                          Government
                                                                                                              C/U/D                                           Undetermined
     1600 W Monroe Street                  Email: tca@azdor.gov                            Contracts
     Phoenix, Arizona 85007                Email: laveritt@azdor.gov
15   Utah State Tax Commission
                                           Attn.: Legal Department
     Attn.: Legal Department                                                              Government
                                           Phone: (800) 662‐4335                                              C/U/D                                           Undetermined
     210 North 1950 West                                                                   Contracts
                                           Email: taxmaster@utah.gov
     Salt Lake City, Utah 84134‐0180
16   City of Columbus
                                           Attn.: Legal Department
     Attn.: Legal Department                                                              Government
                                           Phone: (614) 645‐8328                                              C/U/D                                           Undetermined
     77 N Front Street, 2nd Floor                                                          Contracts
                                           Email: tax@columbus.gov
     Columbus, Ohio 43215
17   Kansas Department of Revenue
     Attn.: Corporate Tax Division         Attn.: Corporate Tax Division
                                                                                          Government
     Scott State Office Building           Phone: (785) 368‐8222                                              C/U/D                                           Undetermined
                                                                                           Contracts
     120 SE 10th Avenue                    Email: KDOR_tac@ks.gov
     Topeka, Kansas 66612‐1103
18   City of Philadelphia
                                           Attn.: Law Tax & Revenue Unit
     Attn.: Law Tax & Revenue Unit                                                        Government
                                           Phone: (215) 686‐6600                                              C/U/D                                           Undetermined
     1401 John F Kennedy Blvd.                                                             Contracts
                                           Email: revenue@phila.gov
     Philadelphia, Pennsylvania 19102
19   Colorado Department of Revenue
                                           Attn.: Taxation Division
     Attn.: Taxation Division                                                             Government
                                           Phone: (303) 866‐3711                                              C/U/D                                           Undetermined
     1375 Sherman Street                                                                   Contracts
                                           Email: DOR_TaxpayerService@state.co.us
     Denver, Colorado 80203
20   Indiana Department of Revenue         Attn.: Bankruptcy Division
     Attn.: Bankruptcy Division            Phone: (317) 232‐2240                          Government
                                                                                                              C/U/D                                           Undetermined
     100 N Senate Avenue                   Email: corptax@dor.in.gov                       Contracts
     Indianapolis, Indiana 46204           Email: businesstaxassistance@dor.in.gov


Official Form 204                             List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 2
Debtor
                         Case 21-90015 Document 1 Filed in TXSB on  11/08/21 Page 13 of 18
                                                                Case number (if known)
           ORG GC Midco, LLC                                                                                                          21-_____ ( )
           Name

Name of creditor and complete mailing            Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim
address, including zip code                      address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only
                                                                                                  example,       contingent,     unsecured claim amount. If claim is partially
                                                                                                trade debts,    unliquidated,    secured, fill in total claim amount and
                                                                                                bank loans,      or disputed     deduction for value of collateral or setoff to
                                                                                               professional                      calculate unsecured claim.
                                                                                               services, and
                                                                                               government
                                                                                                 contracts)
                                                                                                                                  Total claim, if    Deduction        Unsecured
                                                                                                                                    partially       for value of        claim
                                                                                                                                    secured         collateral or
                                                                                                                                                       setoff
21   Comptroller of Maryland
                                                 Attn.: Taxpayer Service Division, Revenue
     Attn.: Taxpayer Service Division, Revenue
                                                 Administration                                 Government
     Administration                                                                                                 C/U/D                                           Undetermined
                                                 Phone: (410) 260‐7980                           Contracts
     110 Carroll Street
                                                 Email: taxhelp@marylandtaxes.gov
     Annapolis, Maryland 21411‐0001
22   Connecticut Commissioner of Revenue
     Services                                    Attn.: Corporate Business Tax Division
                                                                                                Government
     Attn.: Corporate Business Tax Division      Phone: (860) 297‐5962                                              C/U/D                                           Undetermined
                                                                                                 Contracts
     450 Columbus Blvd., Suite 1                 Email: drs@po.state.ct.us
     Hartford, Connecticut 06103
23   Financial Crimes Enforcement Network
     (Foreign Bank Reporting)                    Attn.: Legal Department
                                                                                                Government
     Attn.: Legal Department                     Phone: (800) 767‐2825                                              C/U/D                                           Undetermined
                                                                                                 Contracts
     P.O. Box 39                                 Email: FRC@fincen.gov
     Vienna, Virginia 22183
24   Oregon Department of Revenue                Attn.: Corporate Tax
     Attn.: Corporate Tax                        Phone: (503) 378‐4988                          Government
                                                                                                                    C/U/D                                           Undetermined
     955 Center Street NE                        Email: corp.help.dor@oregon.gov                 Contracts
     Salem, Oregon 9730 1‐2555                   Email: questions.dor@oregon.gov
25   State of Arkansas
                                                 Attn.: Corporation Income Tax Division
     Attn.: Corporation Income Tax Division
                                                 Phone: (501) 682‐4775                          Government
     Ledbetter Building                                                                                             C/U/D                                           Undetermined
                                                 Email:                                          Contracts
     1816 W 7th Street, Rm. 2250
                                                 Corporation.Income@dfa.arkansas.gov
     Little Rock, Arkansas 72201
26   Idaho State Tax Commission
                                                 Attn.: Income Taxes
     Attn.: Income Taxes                                                                        Government
                                                 Phone: (800) 972‐7660                                              C/U/D                                           Undetermined
     11321 W. Chinden Blvd.                                                                      Contracts
                                                 Email: taxrep@tax.idaho.gov
     Boise, Idaho 83714
27   West Virginia State Tax Department
     Account Administration Division,
                                                 Attn.: The Revenue Center
     Corporate Tax Unit                                                                         Government
                                                 Phone: (304) 558‐3333                                              C/U/D                                           Undetermined
     Attn.: The Revenue Center                                                                   Contracts
                                                 Email: TaxHelp@WV.gov
     1001 Lee Street E.
     Charleston, West Virginia 25324‐1202
28   State of New Hampshire
                                                 Attn.: Department of Revenue Admin.
     Attn.: Department of Revenue Admin.                                                        Government
                                                 Phone: (603) 230‐5086                                              C/U/D                                           Undetermined
     109 Pleasant Street                                                                         Contracts
                                                 Email: dra.collections@dra.nh.gov
     Concord, New Hampshire 03302‐0488
29   Rhode Island
                                                 Attn.: Division of Taxation
     Attn.: Division of Taxation                                                                Government
                                                 Phone: (401) 574‐8935                                              C/U/D                                           Undetermined
     1 Capitol Hill, Suite 9                                                                     Contracts
                                                 Email: TaxCorporate@tax.ri.gov
     Providence, Rhode Island 02908‐5811
30   Minnesota Department of Revenue
     Attn.: Corporate Franchise Tax              Attn.: Corporate Franchise Tax
                                                                                                Government
     Mail Station 1250                           Phone: (800) 657‐3666                                              C/U/D                                           Undetermined
                                                                                                 Contracts
     600 N Robert Street                         Email: businessincome.tax@state.mn.us
     St. Paul, Minnesota 55145‐1250




Official Form 204                                   List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 3
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                     §
In re:                                               §        Chapter 11
                                                     §
ORG GC MIDCO, LLC,                                   §        Case No. 21-
                                                     §
                  Debtor.                            §
                                                     §

                        CORPORATE OWNERSHIP STATEMENT
                   PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

ORG GC Midco, LLC, as a debtor and debtor in possession (the “Debtor” and together with its

direct and indirect subsidiaries, the “Company”), respectfully represents as follows:

                  1.       To best of the Debtor’s knowledge, as of the date hereof (the “Petition

Date”), the following entities own, directly or indirectly, ten percent (10%) or more of the Debtor’s

membership interests:

                  2.       ORG GC Holdings, LLC (“Holdco”) is the Debtor’s parent holding

company and owns one-hundred percent (100%) of the membership interests of the Debtor.

                  3.       Holdco has issued multiple classes of shares. The following entities own

ten percent (10%) or more of each of the various classes of shares issued by Holdco:

                                  i.    Series A-2 Units

                                                Seller1 – 100%

                                 ii.    Series B Units

                                                ORG GC Coinvestment, LP – 32.5%



1
    As used herein, the term “Seller” refers, collectively, to DLS Enterprises, Inc., DLS Enterprises Holdings, LLC,
    and GC Financing Corp.
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                                          ORG GC Coinvestment II, LP – 57.3%

                             iii.   Series C Units

                                          ORG GC Coinvestment, LP – 28.6%

                                          ORG GC Coinvestment II, LP – 50.4%

                                          Seller – 12%

               4.      Upon information and belief, no other corporation or person (as defined in

the Bankruptcy Code) owns, directly or indirectly, ten percent (10%) or more of any class of the

Debtor’s equity interests.

               5.      Attached hereto as Exhibit A is an organizational chart for the Company.
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                           Exhibit A

                      Organizational Chart
          Case 21-90015 Document 1 Filed in TXSB on 11/08/21 Page 17 of 18




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                       §
In re:                                                 §           Chapter 11
                                                       §
ORG GC MIDCO, LLC,                                     §           Case No. 21-
                                                       §
                  Debtor.                              §
                                                       §

                              LIST OF EQUITY SECURITY HOLDERS1

         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct or indirect ownership interest, of the above-captioned debtor

in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own ten percent
(10%) or more of any class of the Debtor’s equity interest.

☒ The following are the Debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address Place of                              Kind/Class of           Number of
              Business of Holder                                         Interest            Interests Held

               ORG GC Holdings, LLC
                                                                           Membership
            221 West Sixth Street, Ste. 2000                                                       100%
                                                                            Interest
                 Austin, Texas 78701




1
    This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
    Procedure. All equity positions listed are as of the date of commencement of the Debtor’s chapter 11 case.



                                                  List of Equity Holders
                     Case 21-90015 Document 1 Filed in TXSB on 11/08/21 Page 18 of 18




 Fill in this information to identify the case:

 Debtor name: ORG GC Midco, LLC
 United States Bankruptcy Court for the Southern District of Texas
                                              (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Corporate Ownership Statement and List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on November 8, 2021
                                                       /s/ Michael Jones
                                                        Signature of individual signing on behalf of debtor
                      MM / DD /YYYY
                                                        Michael Jones
                                                        Printed name

                                                        Chief Financial Officer & Chief Administrative Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
